             Case 22-14158-RG                           Doc 12            Filed 06/22/22 Entered 06/22/22 11:46:17                                               Desc Main
                                                                         Document      Page 1 of 66
Fill in this information to identify your case:

Debtor 1                   April D Robinson
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             909,900.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             113,316.96

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,023,216.96

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,275,615.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              74,964.00


                                                                                                                                    Your total liabilities $             1,350,579.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                7,646.22

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,237.82

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
           Case 22-14158-RG                  Doc 12       Filed 06/22/22 Entered 06/22/22 11:46:17                                   Desc Main
                                                         Document      Page 2 of 66
Debtor 1    April D Robinson                                                            Case number (if known) 22-14158
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $          5,620.70


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $            74,379.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             74,379.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
              Case 22-14158-RG                               Doc 12            Filed 06/22/22 Entered 06/22/22 11:46:17                                    Desc Main
                                                                              Document      Page 3 of 66
Fill in this information to identify your case and this filing:

Debtor 1                    April D Robinson
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number            22-14158                                                                                                                                 Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       86 Grandview Avenue                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       North Plainfield                  NJ        07063-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $384,900.00                $384,900.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
       Somerset                                                                       Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Two family property. Subject to mortgage and various judgement liens.
                                                                               Purchased in April of 2004, consideration $270,000.00.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
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Debtor 1        April D Robinson                                                                                       Case number (if known)          22-14158

      If you own or have more than one, list here:
1.2                                                                   What is the property? Check all that apply
      106 West Cherry Street                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Rahway                            NJ        07065-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                    $382,000.00                     $382,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Fee simple
      Union                                                                  Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Two family property. Subject to mortgage and various judgement liens.
                                                                      Purchased in July of 2003, consideration $219,900.00.


      If you own or have more than one, list here:
1.3                                                                   What is the property? Check all that apply
      1021 Kenyon Avenue                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Plainfield                        NJ        07060-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                    $572,000.00                     $143,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Fee simple
      Union                                                                  Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      This is my principal residence. I am a 25% owner of the property along
                                                                      with my mother and two sisters. The property is subject to a mortgage.
                                                                      Purchased in August 2019, consideration$417,000.00.


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                        $909,900.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                     Schedule A/B: Property                                                                             page 2
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Debtor 1         April D Robinson                                                                                  Case number (if known)       22-14158
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Kia                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Sorento                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2014                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              174,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         No lien. Vehicle in good
         condition. Value as per Kelley                         Check if this is community property                                    $4,613.00                 $4,613.00
         Blue Book, June 2023.                                   (see instructions)




  3.2    Make:      GMC                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Terrain                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2013                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                50,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         No lien. Vehicle in good
         condition. Value as per Kelley                         Check if this is community property                                  $10,224.00                 $10,224.00
         Blue Book, June 2023. My                                (see instructions)

         daughter drives this vehicle.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $14,837.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Six rooms of miscellaneous used household goods                                                                                $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   Three television sets , one laptop, one cellphone                                                                                 $800.00


8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
       No
Official Form 106A/B                                         Schedule A/B: Property                                                                     page 3
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Debtor 1        April D Robinson                                                                                            Case number (if known)   22-14158

      Yes. Describe.....

                                          Record collection. figurine collection                                                                                     $400.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                                          One elliptical, one treadmill                                                                                              $150.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Everyday clothing                                                                                                          $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Miscellaneous used costume jewelery including but not limited to
                                          earrings, necklaces, rings, bracelets, necklaces and two watches                                                           $300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                                          Several used books , family pictures, wall pictures, miscellaneous
                                          cds and dvds                                                                                                               $100.00



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                           $6,050.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................
Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 4
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Debtor 1       April D Robinson                                                                    Case number (if known)   22-14158


                                                                                                       Cash on hand                              $40.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                       Affinity Federal Credit Union. Contains
                                                                       security deposits for tenants. Not all estate
                                 17.1.    Savings Account.             property.                                                             $8,000.00



                                 17.2.    Checking Account             Affinity Federal Credit Union                                             $50.00



                                 17.3.    Checking Account             Affinity Federal Credit Union                                           $200.00


                                          Mobile payment
                                 17.4.    service                      Cash App                                                                   $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................              Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                    % of ownership:

                                    Sidewalk University Economic Empowerment,
                                    LLC
                                    Subsidiary of Sidewalk University, Inc. I am the
                                    100% owner of this business. Business
                                    conducts workshops and seminars relating to
                                    financial literacy. No assets, employees, or
                                    receivables. Business has never earned any
                                    profit.                                                              100          %                           $0.00


                                    Generational Genius, LLC.
                                    Business was opened for purposes of school
                                    consulting work. I am the 100% owner. Only
                                    income is $750 to date. Business has no assets,
                                    receivables, or employees.                                           100          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.

Official Form 106A/B                                             Schedule A/B: Property                                                           page 5
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Debtor 1        April D Robinson                                                                            Case number (if known)      22-14158
                                        Type of account:                  Institution name:

                                        403(b)                            403B retirement savings plan through
                                                                          employer, Youth Advocate Programs, Inc.                                    $16,000.00


                                        Roth IRA Retirement               Roth IRA retirement savings plan
                                        savings plan                                                                                                 $45,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


                                                       I am entitled to and is receiving child                   Child
                                                           support benefits                                          support/Spous
                                                                                                                     al support                            $0.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 6
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Debtor 1        April D Robinson                                                                                                Case number (if known)        22-14158

       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

                                            Term life insurance through New York
                                            Life Insurance Company                                                   My daughter                                                 $0.00


                                            Whole life insurance through New York
                                            Life Insurance Company                                                   My daughter                                             $1,897.50


                                            Whole life insurance through New York
                                            Life Insurance Company                                                   My daughter                                             $7,305.42


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
       Yes. Describe each claim.........

                                                         I am owed $5,300 in past due rent from a current tenant,
                                                         Mecca Brown. I have a landlord-tenant action pending and I
                                                         am in the process of evicting her. However, I believe it
                                                         unlikely that I will ever collect these funds or recover against
                                                         her personally.                                                                                                         $0.00


                                                         Several days before the filing of the bankruptcy, I settled a
                                                         personal injury action pending relating to a car accident that
                                                         occurred in 2017. I am represented by the Law Office of
                                                         Birkhold and Maider, LLC, with offices located at 198 Franklin
                                                         Avenue, Nutley, New Jersey. Gross settlement amount is
                                                         $25,000 and I am ste to receive $13,937.04, after costs and
                                                         expenses of suit.                                                                                                 $13,937.04


35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $92,429.96


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 7
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Debtor 1        April D Robinson                                                                                                Case number (if known)        22-14158

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
       Yes. Describe.....


                                       I am owed past due rent from several former tenants who had
                                       resided in properties owned by me and failed to pay rent. I am not
                                       actively seeking to collect funds due. Any collection of past due
                                       funds is highly contingent and unlikely. I am owed about $10,000
                                       in unpaid rent.                                                                                                                           $0.00


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
       No
       Yes. Describe.....


41. Inventory
       No
       Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................                  $0.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.

Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 8
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Debtor 1         April D Robinson                                                                                                      Case number (if known)   22-14158

          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................               $909,900.00
56. Part 2: Total vehicles, line 5                                                                           $14,837.00
57. Part 3: Total personal and household items, line 15                                                       $6,050.00
58. Part 4: Total financial assets, line 36                                                                  $92,429.96
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                    $113,316.96               Copy personal property total          $113,316.96

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,023,216.96




Official Form 106A/B                                                              Schedule A/B: Property                                                                          page 9
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 In re   April D Robinson                                                      Case No.   22-14158
                                                        Debtor(s)



                                       SCHEDULE A/B - PROPERTY
                                                  Attachment A

Debtor(s) asserts, in addition to the disclosures set forth in the petition, as follows:

(In this statement, the term 'I' shall mean 'We' in the event the filing is a joint filing)

1. Other than the personal injury action listed, I have no personal injury cases nor do I contemplate

bringing an action against anyone for an injury to myself, property or otherwise. I have also not been

involved in any injury cases within the past three years.

a. I also have no employment related claims such as employment discrimination, workers

compensation, sexual harassment, nor have I been involved in any such claim within the past three

years.

2. I do not own any real estate other than the property located at 86 Grandview Ave., North Plainfield,

New Jersey, 106 West Cherry Street, Rahway, New Jersey, and 1021 Kenyon Avenue, Plainfield, New

Jersey. Real estate includes, but is not limited to a house, vacant land, land or a house outside the

country, condominium unit, cooperative or a timeshare unit.

3. I do not expect to receive any inheritances and understand that if I am to receive an inheritance I

must notify our attorney about it immediately so that the after acquired asset may be scheduled on the

petition.

4. Other than Generational Genius, LLC., and Sidewalk University Economic Empowerment, LLC, I do

not have any interest in a business, nor have I been involved in any businesses in the past four

years.

5. I do not have any other sources of income other than as listed on my petition no one lives with

me that contributes to my monthly expenses except for my mom and sisters, as the mortgage against

the residential property.

6. Other than the short sale of property which I owed at 448 Catalpa Ave, North Plainfield, New Jersey, I

have not transferred any real property (house, etc., see above for definition) or personal property

(such as a car, boat, money) to anyone within the past three years or to any related party (such as a

brother, sister, friend or relative) within the past ten years.

7. I have never filed any other bankruptcy cases other than cases other than cases 17-21145 and

13-32446.
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8. I have scheduled as creditors, everyone that I owe money to and I understand that I must, without

exception, notwithstanding the nature of the debt (ie, personal loan, credit union loan, credit card

debt), list, as a creditor anyone that I owe money to even if the debt cannot be wiped out and/or if I

want to continue to pay the obligation. There will be an additional fee for any creditor added to the

petition and if a creditor is not scheduled, it may not be discharged. Furthermore, it is contrary to the

law to fail to schedule an obligation, the obligation to schedule someone that I/we owe money to is

required under the bankruptcy law and part of the bankruptcy petition.

9. That I am not the co-signer or guarantor of anyone else's debt other than my mother and sisters on

the residential mortgage.

10. That I do not owe any money to the Internal Revenue Service and/or State of New Jersey, Division

of Taxation.

11. I understand, that if the plan is set up to provide for a loan modification, that there is no guarantee

that the mortgage company will offer us a loan modification in which case, generally speaking, my only

way to save the property is to cure the arrearage over the life of the plan, which may or may not be

feasible.

12. I understand that during the pendency of the case, if I acquire any property, including but not

limited to real estate, inheritances, personal injury cases, employment cases, lottery winnings or any

other asset, of any material value, defined as a value of more than $1,000, I must notify our attorneys

immediately to schedule the asset and that should I fail to notify our attorneys, I risk losing the asset

and/or being criminally prosecuted. I understand that any such post-petition (something that I acquire

or obtain after this case is filed) asset may be considered part of my bankruptcy estate in which case I

may have to pay more money to creditors in my bankruptcy case. I also understand that should there

be any material change in my financial circumstances (like for example where I am making

considerably more money or earning considerably less money), for the better or worse, over the

course of the plan, we must notify our attorneys. A material change is defined as a considerable

change in my finances such that my income increases or decreases considerably or my expenses

considerably increase or decrease. Finally, I understand that I cannot obtain any credit (like buying a

car or obtaining a credit card or obtaining a student loan), during the life of the case without Court or

Trustee permission. That also means I cannot use any credit card that may not have had a balance due

at the time the case was filed or obtain any new credit I am offered and if I do, my case may be subject

to dismissal or conversion to Chapter 7.
         Case 22-14158-RG      Doc 12    Filed 06/22/22 Entered 06/22/22 11:46:17           Desc Main
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a. As to any lawsuit or action that was originally scheduled/listed in my bankruptcy petition, any

attorney representing me in that lawsuit must be retained through the Bankruptcy Court (approved by

the Court). I must notify my bankruptcy attorneys of any changes pertaining to the lawsuit listed in the

petition such as, but not limited to any settlement negotiations or any judgment. Failure to report any

settlement(s) of any lawsuit existing at the time of filing, may result in the dismissal of my case or

conversion to Chapter 7.

13. I understand that various obligations, such as, but not limited to student loans, child support, debts

incurred by fraud, income taxes in various instances, and criminal fines are non-dischargeable,

meaning that they cannot be wiped out in bankruptcy and continue to accrue interest and other costs

and will be due when my bankruptcy is completed. I should consult my attorney for other types of

obligations that may be deemed non-dischargeable.

a. I understand that if I failed to file any tax return, whether state or federal when due, that the

obligation, plus interest and costs, may accrue during the course of the bankruptcy case and be due

when the case is completed. So if a tax return was not filed when due, the tax obligation, and any

interest and/or costs that accrue under non-bankruptcy law will be due once the case is completed,

notwithstanding the classification in the case of the obligation as a priority, unsecured or secured

claim.

14. No one is holding real property (such as a house) or personal property (non-real estate asset) that

really belongs to me, i.e. that I really own.

15. I understand that if there are liens (such as mortgages) or judgments against my property, that were

addressed in the bankruptcy, that there will be an additional fee and cost, upon plan completion, to

discharge and/or cancel the judgment and/or lien. I also understand that there may be an additional fee

for any motion to determine that I am current with direct payment obligations.

16. I understand that my attorney has no control over my credit score as it pertains to the bankruptcy,

in other words, that by filing a bankruptcy, my credit score may remain the same, increase or decrease

and my attorney has no control on that as it is based on external events.

17. I waive the right to a title report, which may show the priority of a mortgage against the property or

other liens against the property.

18. I understand that a separate step or action must be taken, either in the bankruptcy court or

otherwise, to discharge or cancel a judgment. The bankruptcy will wipe out personal liability as to a

judgment, but a motion (for an additional fee and cost) must be filed to discharge and cancel a
         Case 22-14158-RG     Doc 12    Filed 06/22/22 Entered 06/22/22 11:46:17         Desc Main
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judgment. I understand that if I have judgments entered against me, and in particular docketed

judgments ("DJ" or "J"), these judgments of record will not be automatically vacated with the

appropriate court upon completion of the case, despite the discharge of the underlying personal

liability of such judgments. Despite personal liability of these debts being discharged, these

judgments of record may pose credit or title issues down the road, and additional steps would have to

be taken, for additional costs, to vacate these judgments of record with the appropriate court of

judgment. Furthermore, with respect to docketed judgments, these judgments create liens on whatever

real estate is owned by me at the time of the filing of the bankruptcy. These liens will not be discharged

upon completion of the case, unless additional steps, at additional cost, are taken to wipe out these

liens.

19. I have reviewed and read the entire petition and it includes all of my assets (the things that I own

whether real property or personal property) and all of my liabilities (that is the people or companies

that I owe money to). I have also read and understand the bankruptcy information statement

describing the different forms of bankruptcy, the effect of bankruptcy on my credit and the

reaffirmation process. I understand that I am solely responsible for the contents of my bankruptcy

petition and the information contained on the petition and I have thoroughly reviewed the entire

petition on my own and then with my attorney, separately, and I signed the bankruptcy petition in my

attorneys presence and I realize that this document is executed as if I am under an oath and required to

be truthful. I have also provided my attorney with documents consistent with the bankruptcy filing

such as, but not limited to tax returns, pay advices, bank statements, appraisals, mortgage statements

and insurance information, if applicable. All of the information I have provided is truthful and accurate

to the best of my knowledge, information and belief.

I understand that if the foregoing is not correct, I may not receive a discharge and I may be subject to

criminal fines, imprisonment and/or penalties and that I have read and understand this statement and

had the opportunity to question my attorney about anything included in the statement.



Dated: June 15, 2022

/S/ April Robinson
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 In re   April D Robinson                                                      Case No.   22-14158
                                                        Debtor(s)



                                        SCHEDULE A/B - PROPERTY
                                                  Attachment B

As to the Kenyon Avenue property, this property is not subject to the judgments liens, because, by operation of
federal and state law, it was acquired after the Chapter 7 discharge, and therefore the judgement liens do not
affect the property.
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                                                           Document      Page 18 of 66
Fill in this information to identify your case:

Debtor 1                April D Robinson
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     86 Grandview Avenue North                              $384,900.00                                       $1.00    11 U.S.C. § 522(d)(5)
     Plainfield, NJ 07063 Somerset
     County                                                                        100% of fair market value, up to
     Two family property. Subject to                                               any applicable statutory limit
     mortgage and various judgement
     liens. Purchased in April of 2004,
     consideration $270,000.00.
     Line from Schedule A/B: 1.1

     106 West Cherry Street Rahway, NJ                      $382,000.00                                       $1.00    11 U.S.C. § 522(d)(1)
     07065 Union County
     Two family property. Subject to                                               100% of fair market value, up to
     mortgage and various judgement                                                any applicable statutory limit
     liens. Purchased in July of 2003,
     consideration $219,900.00.
     Line from Schedule A/B: 1.2




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 3
           Case 22-14158-RG                  Doc 12      Filed 06/22/22 Entered 06/22/22 11:46:17                                  Desc Main
                                                        Document      Page 19 of 66
Debtor 1   April D Robinson                                                                    Case number (if known)     22-14158
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    1021 Kenyon Avenue Plainfield, NJ                    $143,000.00                                 $27,899.00         11 U.S.C. § 522(d)(1)
    07060 Union County
    This is my principal residence. I am                                         100% of fair market value, up to
    a 25% owner of the property along                                            any applicable statutory limit
    with my mother and two sisters. The
    property is subject to a mortgage.
    Purchased in August 2019,
    consideration$417,000.00.
    Line from Schedule A/B: 1.3

    2014 Kia Sorento 174,000 miles                          $4,613.00                                  $4,450.00        11 U.S.C. § 522(d)(2)
    No lien. Vehicle in good condition.
    Value as per Kelley Blue Book, June                                          100% of fair market value, up to
    2023.                                                                        any applicable statutory limit
    Line from Schedule A/B: 3.1

    2014 Kia Sorento 174,000 miles                          $4,613.00                                    $163.00        11 U.S.C. § 522(d)(5)
    No lien. Vehicle in good condition.
    Value as per Kelley Blue Book, June                                          100% of fair market value, up to
    2023.                                                                        any applicable statutory limit
    Line from Schedule A/B: 3.1

    2013 GMC Terrain 50,000 miles                          $10,224.00                                  $1,311.00        11 U.S.C. § 522(d)(5)
    No lien. Vehicle in good condition.
    Value as per Kelley Blue Book, June                                          100% of fair market value, up to
    2023. My daughter drives this                                                any applicable statutory limit
    vehicle.
    Line from Schedule A/B: 3.2

    Six rooms of miscellaneous used                         $4,000.00                                  $4,000.00        11 U.S.C. § 522(d)(3)
    household goods
    Line from Schedule A/B: 6.1                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Three television sets , one laptop,                        $800.00                                   $800.00        11 U.S.C. § 522(d)(3)
    one cellphone
    Line from Schedule A/B: 7.1                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Everyday clothing                                          $300.00                                   $300.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Miscellaneous used costume                                 $300.00                                   $300.00        11 U.S.C. § 522(d)(4)
    jewelery including but not limited to
    earrings, necklaces, rings, bracelets,                                       100% of fair market value, up to
    necklaces and two watches                                                    any applicable statutory limit
    Line from Schedule A/B: 12.1

    Several used books , family pictures,                      $100.00                                   $100.00        11 U.S.C. § 522(d)(3)
    wall pictures, miscellaneous cds and
    dvds                                                                         100% of fair market value, up to
    Line from Schedule A/B: 14.1                                                 any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 3
           Case 22-14158-RG                  Doc 12      Filed 06/22/22 Entered 06/22/22 11:46:17                                  Desc Main
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Debtor 1    April D Robinson                                                                   Case number (if known)     22-14158
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    403(b): 403B retirement savings plan                   $16,000.00                                                   11 U.S.C. § 522(d)(12)
    through employer, Youth Advocate
    Programs, Inc.                                                               100% of fair market value, up to
    Line from Schedule A/B: 21.1                                                 any applicable statutory limit


    Roth IRA Retirement savings plan:                      $45,000.00                                                   11 U.S.C. § 522(d)(12)
    Roth IRA retirement savings plan
    Line from Schedule A/B: 21.2                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Child support/Spousal support: I am                           $0.00                                     $0.00       11 U.S.C. § 522(d)(10)(D)
    entitled to and is receiving child
    support benefits                                                             100% of fair market value, up to
    Line from Schedule A/B: 29.1                                                 any applicable statutory limit

    Term life insurance through New                               $0.00                                     $0.00       11 U.S.C. § 522(d)(7)
    York Life Insurance Company
    Beneficiary: My daughter                                                     100% of fair market value, up to
    Line from Schedule A/B: 31.1                                                 any applicable statutory limit

    Whole life insurance through New                        $1,897.50                                  $1,897.50        11 U.S.C. § 522(d)(8)
    York Life Insurance Company
    Beneficiary: My daughter                                                     100% of fair market value, up to
    Line from Schedule A/B: 31.2                                                 any applicable statutory limit

    Whole life insurance through New                        $7,305.42                                  $7,305.42        11 U.S.C. § 522(d)(8)
    York Life Insurance Company
    Beneficiary: My daughter                                                     100% of fair market value, up to
    Line from Schedule A/B: 31.3                                                 any applicable statutory limit

    Several days before the filing of the                  $13,937.04                                $27,900.00         11 U.S.C. § 522(d)(11)(D)
    bankruptcy, I settled a personal
    injury action pending relating to a car                                      100% of fair market value, up to
    accident that occurred in 2017. I am                                         any applicable statutory limit
    represented by the Law Office of
    Birkhold and Maider, LLC, with
    offices located at 198 Franklin
    Avenue, Nut
    Line from Schedule A/B: 34.2


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 3 of 3
             Case 22-14158-RG                      Doc 12          Filed 06/22/22 Entered 06/22/22 11:46:17                                      Desc Main
                                                                  Document      Page 21 of 66
Fill in this information to identify your case:

Debtor 1                   April D Robinson
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        BAC Home Loan
2.1                                                                                                          $440,633.00               $382,000.00           $58,633.00
        Servicing                                Describe the property that secures the claim:
        Creditor's Name                          106 West Cherry Street Rahway, NJ
                                                 07065 Union County
                                                 Two family property. Subject to
                                                 mortgage and various judgement
                                                 liens. Purchased in July of 2003,
                                                 consideration $219,900.00.
                                                 As of the date you file, the claim is: Check all that
        PO Box 650070                            apply.
        Dallas, TX 75266                             Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Mortgage
      community debt

Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 7
            Case 22-14158-RG                            Doc 12        Filed 06/22/22 Entered 06/22/22 11:46:17                                   Desc Main
                                                                     Document      Page 22 of 66
Debtor 1 April D Robinson                                                                                    Case number (if known)   22-14158
              First Name                  Middle Name                      Last Name


        Einhorn, Harris Ascher
2.2                                                                                                                $100,000.00         $384,900.00           $0.00
        Barbarito Frost                            Describe the property that secures the claim:
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
        Ironson, PC                                Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        168 East Main Street                       apply.
        Denville, NJ 07834                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          J-105336-13                 Last 4 digits of account number         8513

2.3     Midland Funding                            Describe the property that secures the claim:                    $14,400.00         $384,900.00           $0.00
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
                                                   Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        8875 Aero Drive Ste 200                    apply.
        San Diego, CA 92123                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number


2.4     New Century Financial                      Describe the property that secures the claim:                      $6,282.00        $384,900.00           $0.00
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
        110 S. Jefferson Road                      Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        Suite 104                                  apply.
        Whippany, NJ 07981                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                DJ-057113-1
Date debt was incurred          2                           Last 4 digits of account number         5711


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 7
            Case 22-14158-RG                            Doc 12        Filed 06/22/22 Entered 06/22/22 11:46:17                                   Desc Main
                                                                     Document      Page 23 of 66
Debtor 1 April D Robinson                                                                                    Case number (if known)   22-14158
              First Name                  Middle Name                      Last Name


2.5     New Century Financial                      Describe the property that secures the claim:                      $5,884.00        $384,900.00           $0.00
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
        110 S. Jefferson Road                      Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        Suite 104                                  apply.
        Whippany, NJ 07981                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                DJ-341745-1
Date debt was incurred          1                           Last 4 digits of account number         7711


2.6     New Century Financial                      Describe the property that secures the claim:                      $2,327.00        $384,900.00           $0.00
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
        110 S. Jefferson Road                      Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        Suite 104                                  apply.
        Whippany, NJ 07981                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                DJ-069753-1
Date debt was incurred          3                           Last 4 digits of account number         1712




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 7
            Case 22-14158-RG                            Doc 12        Filed 06/22/22 Entered 06/22/22 11:46:17                                   Desc Main
                                                                     Document      Page 24 of 66
Debtor 1 April D Robinson                                                                                    Case number (if known)   22-14158
              First Name                  Middle Name                      Last Name


2.7     PHH Mortgage                               Describe the property that secures the claim:                   $494,271.00         $384,900.00    $109,371.00
        Creditor's Name                            86 Grandview Avenue North
                                                   Plainfield, NJ 07063 Somerset
                                                   County
                                                   Two family property. Subject to
                                                   mortgage and various judgement
                                                   liens. Purchased in April of 2004,
                                                   consideration $270,000.00.
                                                   As of the date you file, the claim is: Check all that
        PO Box 13891                               apply.
        Philadelphia, PA 19162                          Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number         9029

        Rocket
2.8                                                                                                                $200,000.00         $572,000.00           $0.00
        Mortgage/Quicken Loans                     Describe the property that secures the claim:
        Creditor's Name                            1021 Kenyon Avenue Plainfield, NJ
                                                   07060 Union County
                                                   This is my principal residence. I am
                                                   a 25% owner of the property along
                                                   with my mother and two sisters.
                                                   The property is subject to a
                                                   mortgage. Purchased in August
                                                   2019, consideration$
                                                   As of the date you file, the claim is: Check all that
        1050 Woodland Avenue                       apply.
        Detroit, MI 48226                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 7
            Case 22-14158-RG                            Doc 12        Filed 06/22/22 Entered 06/22/22 11:46:17                                             Desc Main
                                                                     Document      Page 25 of 66
Debtor 1 April D Robinson                                                                                    Case number (if known)        22-14158
              First Name                  Middle Name                      Last Name


        Wardlaw Hartridge
2.9                                                                                                                 $11,818.00                $384,900.00              $0.00
        School                                     Describe the property that secures the claim:
        Creditor's Name                            106 West Cherry Street, Rahway,
                                                   NJ; 86 Grandview Avenue, North
                                                   Plainfield, NJ
                                                   As of the date you file, the claim is: Check all that
        1295 Inman Avenue                          apply.
        Edison, NJ 08820                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                DJ-200221-1
Date debt was incurred          1                           Last 4 digits of account number         3110



  Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,275,615.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                $1,275,615.00

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           BAC Home Loan
           PO Box 650070                                                                             Last 4 digits of account number
           Dallas, TX 75266

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Bank of America
           P0 Box 30610                                                                              Last 4 digits of account number
           Los Angeles, CA 90030

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Bank of America
           PO Box 982238                                                                             Last 4 digits of account number
           El Paso, TX 79998

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Bank of America
           100 N Tyon Street                                                                         Last 4 digits of account number
           Charlotte, NC 28255

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Bayview Loan Servicing
           4425 Ponce De Leon Blvd.                                                                  Last 4 digits of account number
           5th Floor
           Miami, FL 33146




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 5 of 7
         Case 22-14158-RG                       Doc 12    Filed 06/22/22 Entered 06/22/22 11:46:17                                 Desc Main
                                                         Document      Page 26 of 66
Debtor 1 April D Robinson                                                          Case number (if known)          22-14158
           First Name             Middle Name               Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Bayview Loan Servicing
        62516 Collection Center Drive                                        Last 4 digits of account number
        Chicago, IL 60693

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage
        1500 Commerce Parkway                                                Last 4 digits of account number
        Mount Laurel, NJ 08054

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage
        1 Mortgage Way                                                       Last 4 digits of account number
        Mount Laurel, NJ 08054

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage
        PO Box 13891                                                         Last 4 digits of account number
        Philadelphia, PA 19162

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage
        1661 Worthington Rd                                                  Last 4 digits of account number
        West Palm Beach, FL 33409

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage
        1 Mortgage Way                                                       Last 4 digits of account number
        Mount Laurel, NJ 08054

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage LLC
        1 Mortgage Way                                                       Last 4 digits of account number
        Mount Laurel, NJ 08054

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage Services
        1661 Worthington Road                                                Last 4 digits of account number
        West Palm Beach, FL 33409

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        PHH Mortgage Services Inc.
        PO Box 5424                                                          Last 4 digits of account number
        Mount Laurel, NJ 08054

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.8
        Quicken Loans
        Attn: Bankruptcy                                                     Last 4 digits of account number
        1050 Woodward Avenue
        Detroit, MI 48226

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.8
        Quicken Loans
        1050 Woodward Avenue                                                 Last 4 digits of account number
        Detroit, MI 48226


Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 6 of 7
         Case 22-14158-RG                       Doc 12    Filed 06/22/22 Entered 06/22/22 11:46:17                                 Desc Main
                                                         Document      Page 27 of 66
Debtor 1 April D Robinson                                                          Case number (if known)          22-14158
           First Name             Middle Name               Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Shellpoint Mortgage
        55 Beattie Place                                                     Last 4 digits of account number
        Greenville, SC 29601

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Shellpoint Mortgage Servicing
        Attn: Bankruptcy                                                     Last 4 digits of account number
        P0 Box 10826
        Greenville, SC 29603

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        Stern & Eisenberg P C
        1040 N Kings Highway                                                 Last 4 digits of account number
        Suite 407
        Cherry Hill, NJ 08034

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
        Stern & Eisenberg PC ESQ
        1581 Main Street                                                     Last 4 digits of account number
        Suite 200
        Warrington, PA 18976




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 7 of 7
         Case 22-14158-RG       Doc 12    Filed 06/22/22 Entered 06/22/22 11:46:17             Desc Main
                                         Document      Page 28 of 66
 In re   April D Robinson                                                      Case No.   22-14158
                                                        Debtor(s)



            SCHEDULE D - CREDITORS WHO HAVE CLAIMS SECURED BY PROPERTY
                                                  Attachment A

As to the Midland obligation, this may not be a judgment lien entered against me.

Personal liability on judgments discharged in earlier Chapter 7 bankruptcy.
              Case 22-14158-RG                      Doc 12          Filed 06/22/22 Entered 06/22/22 11:46:17                                             Desc Main
                                                                   Document      Page 29 of 66
Fill in this information to identify your case:

Debtor 1                   April D Robinson
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

Case number            22-14158
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Capital One, NA                                         Last 4 digits of account number         XXXX                                                              $0.00
             Nonpriority Creditor's Name
             Bankruptcy Dept.                                        When was the debt incurred?
             PO Box 5155
             Norcross, GA 30091
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Debts. May be no liability
                                                                                          owed. Information obtained from a credit
                 Yes                                                     Other. Specify   report.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 4
                                                                                                               20270
           Case 22-14158-RG                     Doc 12       Filed 06/22/22 Entered 06/22/22 11:46:17                                           Desc Main
                                                            Document      Page 30 of 66
Debtor 1 April D Robinson                                                                        Case number (if known)         22-14158

4.2      Federal Loan Service                                Last 4 digits of account number       0002                                               $41,000.00
         Nonpriority Creditor's Name
         PO Box 69184                                        When was the debt incurred?
         Harrisburg, PA 17106
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Student Loan, Non-dischargeable
                                                                                 obligation, i.e. cannot be wiped out in
                                                                                 bankruptcy and continues to accrue
                                                                                 interest and other charges
4.3      Federal Loan Service                                Last 4 digits of account number       0001                                               $33,379.00
         Nonpriority Creditor's Name
         PO Box 69184                                        When was the debt incurred?
         Harrisburg, PA 17106
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Student Loan, Student Loan,
                                                                                 Non-dischargeable obligation, i.e. cannot
                                                                                 be wiped out in bankruptcy and continues
                                                                                 to accrue interest and other charges
4.4      Portfolio Recovery                                  Last 4 digits of account number       XXXX                                                 $585.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         PO Box 41067
         Norfolk, VA 23541
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 4
           Case 22-14158-RG                    Doc 12         Filed 06/22/22 Entered 06/22/22 11:46:17                                           Desc Main
                                                             Document      Page 31 of 66
Debtor 1 April D Robinson                                                                          Case number (if known)          22-14158
Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One, NA                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Bankruptcy Dept.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 5155
Norcross, GA 30091
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One, NA                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Capital One Bank (USA) N.A.                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
P0 Box 30285
Salt Lake City, UT 84130
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                                  Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P0 Box 9635                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Wilkes Barre, PA 18773
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
140 Corporate Blvd.                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23502
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P0 Box 41067                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23541
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Sallie Mae Bankruptcy                                    Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
220 Lasley Avenue                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Wilkes Barre, PA 18706
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Sallie Mae Servicing                                     Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 4600                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Wilkes Barre, PA 18773
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
US Department of Education                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Atlanta Service Center                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta Federal Center Tower
61 Forsyth Street SW , Room 19T89
Atlanta, GA 30303
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
US Department of Education                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
National Payment Center                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 4142
Greenville, TX 75403
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Us Department of Education                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 41309                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Nashville, TN 37204
                                                         Last 4 digits of account number

Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 4
           Case 22-14158-RG                        Doc 12         Filed 06/22/22 Entered 06/22/22 11:46:17                                           Desc Main
                                                                 Document      Page 32 of 66
Debtor 1 April D Robinson                                                                               Case number (if known)         22-14158

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
US Department of Education                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 530260                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30353
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
US Department Of Education                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 81404                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30366
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
US Department of Education                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
National Payment Center                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 4169
Greenville, TX 75403
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                    74,379.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                        585.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    74,964.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 4
              Case 22-14158-RG                       Doc 12          Filed 06/22/22 Entered 06/22/22 11:46:17                          Desc Main
                                                                    Document      Page 33 of 66
Fill in this information to identify your case:

Debtor 1                  April D Robinson
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
             Case 22-14158-RG                          Doc 12          Filed 06/22/22 Entered 06/22/22 11:46:17              Desc Main
                                                                      Document      Page 34 of 66
Fill in this information to identify your case:

Debtor 1                   April D Robinson
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Constance Eason                                                                       Schedule D, line   2.8
               1021 Kenyon Avenue                                                                    Schedule E/F, line
               Plainfield, NJ 07060
                                                                                                     Schedule G
               Sister
                                                                                                   Rocket Mortgage/Quicken Loans



   3.2         Georgia Brown                                                                         Schedule D, line   2.8
               1021 Kenyon Avenue                                                                    Schedule E/F, line
               Plainfield, NJ 07060
                                                                                                     Schedule G
               Mother
                                                                                                   Rocket Mortgage/Quicken Loans



   3.3         Joy Robinson                                                                          Schedule D, line   2.8
               1021 Kenyon Avenue                                                                    Schedule E/F, line
               Plainfield, NJ 07060
                                                                                                     Schedule G
               Sister
                                                                                                   Rocket Mortgage/Quicken Loans




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      April D Robinson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number               22-14158                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Behavorial Support Specialist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Youth Advocate Programs, Inc.

       Occupation may include student        Employer's address
                                                                   45 Academy Street
       or homemaker, if it applies.
                                                                   Newark, NJ 07102

                                             How long employed there?         March 2013 to Present

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,166.67        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,166.67               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   April D Robinson                                                                      Case number (if known)   22-14158


                                                                                                     For Debtor 1         For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.         $      4,166.67      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        653.77      $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00      $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $        291.68      $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00      $               N/A
     5e.    Insurance                                                                     5e.        $        675.00      $               N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00      $               N/A
     5g.    Union dues                                                                    5g.        $          0.00      $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +    $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,620.45      $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,546.22      $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $        125.00      $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00      $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $        242.00      $               N/A
     8d. Unemployment compensation                                                        8d.        $          0.00      $               N/A
     8e. Social Security                                                                  8e.        $          0.00      $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                  N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                  N/A
     8h. Other monthly income. Specify: Income Tax Refund                                 8h.+ $              431.00 + $                  N/A
            Rental Income 86 Grandview Avenue                                                  $            1,352.00   $                  N/A
            Rental Income 106 W Cherry Street                                                  $            2,950.00   $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          5,100.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              7,646.22 + $          N/A = $          7,646.22
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $         7,646.22
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: See attached




Official Form 106I                                                     Schedule I: Your Income                                                   page 2
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 In re   April D Robinson                                                        Case No.   22-14158
                                                         Debtor(s)



                                       SCHEDULE I - YOUR INCOME
                                                   Attachment A

I am currently in the process of evicting a tenant on the Grandview property. Once evicted, I will have to make
repairs to the property to prepare it to be rented again. I should be able to obtain a tenant and rent the unit for
$1600. The repairs and re-renting of the property should occur within a period of one year or less, contingent on
the time necessary to evict the individual who now resides in the premises and then make necessary repairs.

Rent as to all of the units will be increasing 2.5% to $4%. This will provide another $60 to $118 per month on a
going forward basis in the near future.

My self-employment income consists of ad-hoc consulting work. I facilitate workshops with schools regarding
child assault prevention. So far this year I have earned about $750. The amount scheduled represents an year to
date average,. My consulting work is limited because my time is mainly consumed, outside of regular employment,
caring for my elderly mother who lives with my sisters and me. It may be the case that we hire a care preovider
which will allow time for the increase in consulting work.

Increase in plan payments after twelve months is premised mostly on the additional rent from the Grandview
property and also the other factors noted above.
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Fill in this information to identify your case:

Debtor 1                 April D Robinson                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number           22-14158
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             19 Years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             833.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1    April D Robinson                                                               Case number (if known)   22-14158

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                              150.00
      6d. Other. Specify:                                                                    6d. $                                0.00
7.    Food and housekeeping supplies                                                           7. $                             200.00
8.    Childcare and children’s education costs                                                 8. $                               0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                              20.00
10.   Personal care products and services                                                    10. $                               50.00
11.   Medical and dental expenses                                                            11. $                               20.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                               60.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                               40.00
14.   Charitable contributions and religious donations                                       14. $                                0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                               450.00
      15b. Health insurance                                                                15b. $                                 0.00
      15c. Vehicle insurance                                                               15c. $                               333.00
      15d. Other insurance. Specify:                                                       15d. $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                 0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                  0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                  0.00
      17c. Other. Specify:                                                                 17c. $                                  0.00
      17d. Other. Specify:                                                                 17d. $                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                 0.00
19.   Other payments you make to support others who do not live with you.                         $                                0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                  0.00
      20b. Real estate taxes                                                               20b. $                                  0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                  0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                  0.00
21.   Other: Specify:    Mortgage Payment (West Cherry)                                      21. +$                            1,951.82
      Maintenance (West Cherry)                                                                   +$                             167.00
      Water/Gas (West Cherry)                                                                     +$                             300.00
      Mortgage Payment (Grandview)                                                                +$                           1,561.00
      Maintenance (Grandview)                                                                     +$                             167.00
      Water/Trash (Grandview)                                                                     +$                             135.00
      Daughter's College Tuition                                                                  +$                             800.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                         $                7,237.82
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                 $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                    $                7,237.82
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                          7,646.22
    23b. Copy your monthly expenses from line 22c above.                                       23b. -$                         7,237.82

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                              23c. $                           408.40




Official Form 106J                                         Schedule J: Your Expenses                                                      page 2
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Debtor 1    April D Robinson                                                                          Case number (if known)      22-14158

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
        No.
        Yes.             Explain here: The scheduled payment, as to the mortgage, on my residence, represents a proportional
                         share of the total monthly contribution towards the household expenses.

                         My student loans are in forbearance. The forebearance will expire in August of 2022. When the
                         forebearance expires, assuming no further forbearances are offered, I will work out a repayment plan.




Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 3
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Fill in this information to identify your case:

Debtor 1                    April D Robinson
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY

Case number              22-14158
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ April D Robinson                                              X
             April D Robinson                                                  Signature of Debtor 2
             Signature of Debtor 1

             Date       June 15, 2022                                          Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  April D Robinson
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          DISTRICT OF NEW JERSEY

Case number           22-14158
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there
       448 Catalpa Avenue                                 From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Plainfield, NJ 07063                               For several years                                                               From-To:
                                                          through August
                                                          2019

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1     April D Robinson                                                                    Case number (if known)   22-14158


                                          Debtor 1                                                       Debtor 2
                                          Sources of income               Gross income                   Sources of income           Gross income
                                          Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                          exclusions)                                                and exclusions)

From January 1 of current year until         Wages, commissions,                      $22,134.46           Wages, commissions,
the date you filed for bankruptcy:                                                                       bonuses, tips
                                          bonuses, tips

                                             Operating a business                                           Operating a business


                                            Wages, commissions,                           $750.00          Wages, commissions,
                                          bonuses, tips                                                  bonuses, tips

                                             Operating a business                                           Operating a business


For last calendar year:                      Wages, commissions,                      $43,705.70           Wages, commissions,
(January 1 to December 31, 2021 )                                                                        bonuses, tips
                                          bonuses, tips

                                             Operating a business                                           Operating a business


                                            Wages, commissions,                         $2,500.00          Wages, commissions,
                                          bonuses, tips                                                  bonuses, tips

                                             Operating a business                                           Operating a business


For the calendar year before that:           Wages, commissions,                      $32,073.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                        bonuses, tips
                                          bonuses, tips

                                             Operating a business                                           Operating a business


                                            Wages, commissions,                         $1,433.00          Wages, commissions,
                                          bonuses, tips                                                  bonuses, tips

                                             Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                         Debtor 1                                                        Debtor 2
                                         Sources of income                Gross income from              Sources of income           Gross income
                                         Describe below.                  each source                    Describe below.             (before deductions
                                                                          (before deductions and                                     and exclusions)
                                                                          exclusions)
From January 1 of current year until Rental income                                    $25,812.00
the date you filed for bankruptcy:


                                         Child Support                                  $1,213.00

For last calendar year:                  Rental income                                $30,000.00
(January 1 to December 31, 2021 )


                                         Child Support                                  $2,912.00




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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Debtor 1     April D Robinson                                                                         Case number (if known)   22-14158


                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income            Gross income
                                                Describe below.                each source                    Describe below.              (before deductions
                                                                               (before deductions and                                      and exclusions)
                                                                               exclusions)
For the calendar year before that:              Rental income                              $33,000.00
(January 1 to December 31, 2020 )


                                                Child Support                                $2,912.00


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Rider University                                    Ordinary course                  $2,400.00                 $0.00        Mortgage
      2083 Lawrenceville Road                             payments, on                                                            Car
      Lawrence Township, NJ 08648                         daughter's college                                                      Credit Card
                                                          tuition, within the                                                     Loan Repayment
                                                          last 90 days.
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other Daughter's College
                                                                                                                               Tuition

      New York Life Insurance Co.                         Ordinary course                  $1,350.00                 $0.00        Mortgage
      1300 Piccard Drive., Ste. 202                       life insurance                                                          Car
      Rockville, MD 20850                                 payments in the                                                         Credit Card
                                                          90 days                                                                 Loan Repayment
                                                          pre-petition.
                                                                                                                                  Suppliers or vendors
                                                                                                                                 Other Life insurance
                                                                                                                               premium

      BAC Home Loan Servicing                             Ordinary course                  $6,018.90         $440,633.00          Mortgage
      PO Box 650070                                       mortgage                                                                Car
      Dallas, TX 75266                                    payments in the
                                                                                                                                  Credit Card
                                                          90 days
                                                                                                                                  Loan Repayment
                                                          pre-petition on the
                                                          West Cherry                                                             Suppliers or vendors
                                                          property.                                                               Other




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      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      NJ Manufacturers Insurance                          Ordinary course                    $999.00                 $0.00       Mortgage
      301 Sullivan Way                                    auto insurance                                                         Car
      Trenton, NJ 08628                                   payments made in                                                       Credit Card
                                                          the 90 days                                                            Loan Repayment
                                                          pre-petition.
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other Auto insurance


      Suez Water                                          Ordinary course                    $750.00                 $0.00       Mortgage
      461 From Rd Ste 400                                 water payments                                                         Car
      Paramus, NJ 07652                                   on West Cherry                                                         Credit Card
                                                          property in the 90                                                     Loan Repayment
                                                          days pre-petition
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other Utility charges


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number
      The Bank of NY Mellon v. April                      Foreclosure                  Union County Superior                      Pending
      Robinson                                            Action as to the             Court, Chanc Div.                          On appeal
      F-15500-15                                          West Cherry                  2 Broad Street
                                                                                                                                  Concluded
                                                          property.                    Elizabeth, NJ 07201
                                                                                                                               Final judgement vacated as
                                                                                                                               loan modified




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      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      April Robinson v. David Scotti                     Personal Injury              Union County Superior                       Pending
      L-003333-19                                                                     Court, Law. Div.                            On appeal
                                                                                      2 Broad Street
                                                                                                                                  Concluded
                                                                                      Elizabeth, NJ 07201
                                                                                                                               Settled pre-petition, I will
                                                                                                                               receive $13,937.04 after
                                                                                                                               costs of suit???

      The Bank of New York v April                       Foreclosure                  Union County Superior                       Pending
      Robinson                                           relating to                  Court, Chanc. Div                           On appeal
      F-007917-20                                        Grandview                    2 Broad Street
                                                                                                                                  Concluded
                                                         property                     Elizabeth, NJ 07201
                                                                                                                               Final judgement entered
                                                                                                                               and sheriff's sale
                                                                                                                               scheduled before filing

      April Robinson v. Rose Mecca                       Landlord-Tenant              Somerset County Superior                    Pending
      LT-000449-22                                       Action regarding             Court, S.C.P.                               On appeal
                                                         the tenant in the            Landlord-Tenant Division
                                                                                                                                  Concluded
                                                         Grandview                    40 North Bridge Road
                                                         property                     Somerville, NJ 08876

      April Robinson v. Isaiah Fowler                    Landlord-Tenant              Union County Superior                       Pending
      LT-001692-22                                       Action regarding             Court, S.C.P.                               On appeal
                                                         the West Cherry              Landlord-Tenant Division
                                                                                                                                  Concluded
                                                         property                     2 Broad Street
                                                                                      Elizabeth, NJ 07201
                                                                                                                               Eviction relating to storage
                                                                                                                               unit in basement


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




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Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                  Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                       Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                              lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Raymond and Raymond, Attorneys At                            $1,350 for chapter 13 petition including                 May 23, 2022               $1,350.00
      Law                                                          $950 legal fee, as well as $400 in actual
      Attn: Herbert B. Raymond, ESQ.                               costs and expenses including court
      7 Glenwood Avenue                                            filing fee and court required credit
      Suite 408, 4th Floor                                         counseling course. Balance of legal
      East Orange, NJ 07017                                        fees in the amount of $3,800 to be paid
      herbertraymond@gmail.com                                     through the plan as an administrative
                                                                   expense.

      Access Counseling, Inc.                                      $9.95 for court required credit                          May 23, 2022                    $9.95
      633 West 5th Street                                          counseling course.
      Suite#26001
      Los Angeles, CA 90071
      www.debtorcc.org




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or          Date transfer was
      Address                                                      property transferred                       payments received or debts        made
                                                                                                              paid in exchange
      Person's relationship to you
      Dilone Properties, LLC                                       I short sold property located              $242,000 was the                  September 28,
      16 Mt. Bethel Road, #200                                     at 448 Catalpa Avenue, North               purchase price.                   2020
      Warren, NJ 07059                                             Plainfield, NJ, valued at                  However, this was all
                                                                   approximately $242,000.                    paid to the mortgage
      None (arms length transaction)                                                                          company. I received no
                                                                                                              cash back from the sale.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                            Date Transfer was
                                                                                                                                                made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was               Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,              before closing or
      Code)                                                                                                           moved, or                           transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                    Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                 have it?
                                                                   State and ZIP Code)

      Bank of America                                              Besides myself, just my               Important papers and                        No
      Somerset Street                                              mother Georgia Brown,                 documents only.                             Yes
      Plainfield, NJ 07063                                         who lives with me at 1021
                                                                   Kenyon Ave., Plainfield,
                                                                   NJ.



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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                         have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                  Status of the
      Case Number                                                Name                                                                           case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business               Employer Identification number
       Address                                                                                                 Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
       Sidewalk University Economic                          Subsidiary of Sidewalk University,                EIN:
       Empowerment                                           Inc.
       1021 Kenyon Avenue                                    I am the 100% owner. Business                     From-To      2009 to Present (Not operating)
       Plainfield, NJ 07060                                  operated conducting workshops
                                                             and seminars relating to financial
                                                             literacy. Business has no assets,
                                                             receivables, or employees.
                                                             Business has never earned any
                                                             profits.



       Generational Genius, LLC                              Business was opened for                           EIN:
       1021 Kenyon Avenue                                    purposes of my school consulting
       Plainfield, NJ 07060                                  work. I am the 100% owner. Only                   From-To      Opened this year, 2022
                                                             income is $750 to date. Business
                                                             has no assets, receivables, or
                                                             employees



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ April D Robinson
April D Robinson                                                       Signature of Debtor 2
Signature of Debtor 1

Date      June 15, 2022                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              April D Robinson                                                                        According to the calculations required by this
                                                                                                              Statement:
Debtor 2
                                                                                                                    1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:       District of New Jersey                                                2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number           22-14158
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                           3,891.03       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                          242.67       $
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                    0.00      $
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                  $               4,302.00
       Ordinary and necessary operating expenses              -$               2,815.00
       Net monthly income from rental or other real                                         Copy
       property                                                $               1,487.00 here -> $               1,487.00       $




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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                                                                                                 Column A                      Column B
                                                                                                 Debtor 1                      Debtor 2 or
                                                                                                                               non-filing spouse
                                                                                                 $                  0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00       $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                 $                  0.00       $
                                                                                                 $                  0.00       $
                Total amounts from separate pages, if any.                                  +    $                  0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $        5,620.70           +   $                  =    $      5,620.70

                                                                                                                                                   Total average
                                                                                                                                                   monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                 $          5,620.70
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                        $
                                                                                        $
                                                                                      +$

                   Total                                                               $                    0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                          $          5,620.70

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                            $          5,620.70




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 2
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               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     67,448.40


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                NJ

      16b. Fill in the number of people in your household.                      2
      16c. Fill in the median family income for your state and size of household.                                                                    $     92,669.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   5,620.70
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                      0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          5,620.70


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      5,620.70

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     67,448.40




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     92,669.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ April D Robinson
       April D Robinson
       Signature of Debtor 1
      Date June 15, 2022
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 3
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Debtor 1   April D Robinson                                                       Case number (if known)   22-14158




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 4
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Debtor 1   April D Robinson                                                       Case number (if known)   22-14158


                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2021 to 04/30/2022.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Youth Advocate Programs, Inc.
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $35,763.42 from check dated 10/31/2021 .
Ending Year-to-Date Income: $43,705.79 from check dated 12/31/2021 .

This Year:
Current Year-to-Date Income: $15,403.83 from check dated         4/30/2022    .

Income for six-month period (Current+(Ending-Starting)): $23,346.20 .
Average Monthly Income: $3,891.03 .



Line 4 & 40 - Child support income (including foster care and disability)
Source of Income: Child support benefits
Constant income of $242.67 per month.



Line 6 - Rent and other real property income
Source of Income: Rent- 86 Grandview Ave
Constant income of 1,352.00 per month.
Constant expense of 297.00 per month.
Net Income 1,055.00 per month.



Line 6 - Rent and other real property income
Source of Income: Rent: 106 W Cherry St.
Constant income of 2,950.00 per month.
Constant expense of 2,518.00 per month.
Net Income 432.00 per month.




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 5
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
Herbert B. Raymond, Esq.
7 Glenwood Avenue, 4th Floor
East Orange, NJ 07017
1-973-675-5622
herbertraymond@gmail.com




In Re:    April D Robinson
                                                                         Case No.:           22-14158

                                                                         Chapter:            13

                                                                         Judge:

                   DISCLOSURE OF CHAPTER 13 DEBTOR’S ATTORNEY COMPENSATION

1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the debtor(s) and
that compensation was paid to me within one year before the filed date of the petition, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in connection with this bankruptcy case is as follows:

            Under D.N.J. LBR 2016-5(b), I have agreed to accept for all legal services required to confirm a plan, subject
         to the exclusions listed below, including administrative services that may occur postconfirmation, a flat fee in the
         amount of $ 4,750.00 . I understand that I must demonstrate that additional services were unforeseeable at the
         time of the filing of this disclosure if I seek additional compensation and reimbursement of necessary expenses.

         Legal services on behalf of the debtor in connection with the following are not included in the flat fee:

         Representation of the debtor in:
                     adversary proceedings,
                     loss mitigation/loan modification efforts,
                     post-confirmation filings and matters brought before the Court.

         I have received:                                                    $    950.00

                 The balance due is:                                         $    3,800.00

                 The balance     will   will not be paid through the plan.

            Under D.N.J. LBR 2016-5(c), I have agreed to accept for legal services provided on behalf of the debtor in this
         case, an hourly fee of $    . The hourly fee charged by other members of my firm that may provide services to
         this client range from $     to $      . I understand that I must receive the Court’s approval of any fees or
         expenses to be paid to me in this case post petition pursuant to D.N.J. LBR 2016-1.

         I have received:                                                    $

2.       The source of the funds paid to me was:

           Debtor(s)                         Other (specify below)
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3.      If a balance is due, the source of future compensation to be paid to me is:

          Debtor(s)                         Other (specify below)




4.       I have or have not agreed to share compensation with another person(s) unless they are members of my law
firm. If I have agreed to share compensation with a person(s) who is not a member of my law firm, a copy of that
agreement and a list of the people sharing in the compensation is attached.

5.       (a) The Debtor(s) agree that coverage counsel may appear at hearings on their behalf in lieu of counsel retained by
Debtor(s) as needed. If possible, Debtor’s counsel will advise Debtor(s) of the use of coverage counsel for any hearings
prior to that hearing. Debtor(s) acknowledge that coverage counsel may not be a member of my firm and may or may not
be compensated for their appearance.


                             Debtor(s) Initials               Debtor(s) Initials

        (b) The Debtor(s) DO NOT agree that coverage counsel may appear at hearings on their behalf in lieu of counsel
retained by Debtor(s) as needed. All appearances related to the Debtor(s) matter will be made by me, the undersigned
attorney, or members of my law firm.

                             /s/ ADR
                             Debtor(s) Initials               Debtor(s) Initials

6.      The Debtor(s) have reviewed this Disclosure and it is consistent with the terms of the Retainer Agreement.

Date: June 15, 2022                               /s/ April D Robinson
                                                  April D Robinson
                                                  Debtor

Date:
                                                  Joint Debtor

Date: June 15, 2022                               /s/ Herbert B. Raymond, Esq.
                                                  Herbert B. Raymond, Esq.
                                                  Debtor's Attorney




                                                                                                                     rev. 8/1/21
                                                             2
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 In re   April D Robinson                                                    Case No.   22-14158
                                                      Debtor(s)


                                         Retainer Agreement
This shall constitute the fee arrangement between you, the client or Debtor(s) and the law firm, that is
Herbert B. Raymond, Esq., Jeffrey M. Raymond, Esq., and Kevin L. DeLyon, Esq., dba Raymond and
Raymond. The fee you are being charged, pre-confirmation, is a set fee, with possible upward
adjustment, contingent on services rendered. The fee you are being charged is $4,750.00, plus filing
fees and costs of approximately $400 (consisting of the court filing fee, the credit counseling fee and
the credit reporting fee, i.e. actual costs of filing).

Pre-Confirmation with Adjustment if Necessary: The fee charged relates to pre-confirmation services
only and is a set fee, in other words, it is a flat rate fee which may be adjusted upwards depending on
the services rendered in the case. The maximum amount, that the fee may be increased is to the sum
of $4,750.00, a sum set by the Court, exclusive of costs. The Debtor consents and agrees to be
charged this fee and understands that if the fee charged is less than the $4,750, that the attorneys/law
firm, may amend the fee disclosure so that the increased fee is charged. The amended fee disclosure
statement, will be e-mailed or mailed to the Debtor/client. By signing this agreement, despite the legal
fee charged to you, you consent to a legal fee to be charged of up to $4,750, depending on the
circumstances in the case (if additional services are rendered).

       A. Excluded Services: Services pertaining to loss mitigation or loan modification efforts and
representation in adversary proceedings, is not included in the fees being charged. The Court
specifically excludes such fees from the flat rate charge.

              i. The legal fees for loss mitigation vary and the basic or standard charge is $1,500.00.
This sum is in addition to the flat or set fee noted above. There may also be additional fees pertaining
to loss mitigation such as, but not including, fees for status conferences (charged at $300 to $500),
loss mitigation extension or termination applications ($250 to $400) and motions to approve a loan
modification ($750).

              ii. Representation in Adversary Proceedings: Fees pertaining to adversary proceedings
are not included in the set fee and are covered in the section labeled Litigation below.

Litigation: In some circumstances, as determined by counsel, involving considerable litigation or
matters which are substantially contested, such as but not limited to, complicated legal issues,
adversary proceedings, legal briefing or plenary hearings (involving a contested factual issue such as,
but not limited to a valuation hearing or contested confirmation issue), a request may be made, by the
law firm, to the Court, for fees to be paid an hourly rate, which shall be the rate in effect, set by the firm,
at the time the services are rendered to the Debtor. Currently the maximum rate in effect is $350 per
hour. Alternatively, the law firm may charge a flat or set fee for such services, to be determined by
counsel, at the time the services are rendered, based on the anticipated amount and complexity of the
work to be performed.

Appeal: In no event will the fee cover an appeal and no appeal will be under-taken without another
agreement between the Debtor and law firm and the payment of the required legal fees and costs of
appeal, if required per the agreement. The agreement may provide that legal fees only will be paid
through the bankruptcy Chapter 13 plan as an administrative expense requiring no initial fee payment.
Actual costs must be paid immediately by the client whether the fee is paid at the time of execution or
through the plan. The fee may be a set or flat fee, to be determined by counsel, at the time the
anticipated services are rendered, based on the anticipated amount and complexity of the work to be
performed. Alternatively, the fee may be premised on hourly billing at the current hourly rate in effect.

Fees for pre-confirmation services whether included or excluded, will be part of your Chapter 13 plan
to the extent not paid initially and if the fee is for an excluded service or if the pre-confirmation fee is
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increased due to the rendering of additional services, the Chapter 13 plan payment may increase. By
signing this agreement, you consent to the fees that are charged and to be included under the plan and
the law firm will continue to represent you and make adjustment for the fees as necessary, depending
on services rendered, and the fees will be part of your Chapter 13 plan and may result in an increase in
plan payments.

Unanticipated/Unforeseeable At the Time of Filing and/or Post-Confirmation: The fee noted above,
whether flat rate, increased by adjustment or hourly, does not include any services rendered to you, if
unanticipated/unforeseeable at the time of filing and/or after the approval (confirmation) of your plan.
Thus any service, including but not limited to services, other than those services deemed part and
parcel of the original fee or plan, performed after the confirmation of your plan or that were
unanticipated or unforeseeable at the time of your filing, may be charged to you, pursuant to the
following schedule and are known as supplemental counsel fees:

              a. Modified Plans: $500

              b. Motions Filed on Behalf of the Debtor: $750

              c. Defense of Trustee Motion(s) or Trustee Default Certification(s): $400

              d. Stay Relief Motions or any Other Motion(s), Application(s) or Default Certifications
Filed Against the Debtor: $400 to $650

              e. Retention Application(s): $350

              f. Notice of Settlement and/or Notice of Sale: $250

              g. Amendments to Petition For All Schedules Except Schedules I and J: $200 (Plus Actual
Costs)

                      i. Amendment(s) to Petition for Schedules I and/or J: $250 Per Schedule Plus
Actual Costs, if applicable

              h. Additional Court Appearances Pertaining to Any of the Above or Below: $150

              i. Preparation of Wage Order: $150

              j. Conversion of Case: Any amounts still due under the plan plus additional legal fees
($350 to $1,200) and actual costs of conversion such as amendment filing fee and conversion fee

              k. Filing of Proof of Claim on Behalf of Any Creditor: $275

These after confirmation and/or unanticipated/unforeseeable at the time of filing, supplemental legal
fees are be charged to the Debtor/Client consistent with this schedule. In very complicated or time
consuming situations, like, for example, where a legal issue arises or where there is a contested
factual issue necessitating a plenary hearing, the fee charged may be on an hourly basis, at the rate, in
counsel's discretion, in effect at the time the service is rendered. Alternatively, the law firm may charge
a flat fee for such services, to be determined at the time the services are rendered, based on the
anticipated amount and complexity of the work to be performed. The Debtor(s) consents to the
post-confirmation fees and/or unanticipated/unforeseeable at the time of filing fees to be charged,
whether on an hourly basis, pursuant to this fee schedule (for an enumerated or standard service)
and/or on a set or flat fee basis, and the attorney will represent the Debtor(s) and charge the Debtor
pursuant to the this schedule, with the legal fees, in most cases, to be added to the plan, unless the
Debtor notifies the firm otherwise. The additional fee, if made a part of the plan, may result in an
increase in the Debtor's plan payment to the Trustee.

The fee schedule shall be inapplicable, should there be any major change to the Bankruptcy Code or
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other applicable law, in which case the law firm shall publish and retain a new schedule, for inspection
and review by the client upon request. The new fee schedule shall be implemented only in the case of
a substantial change to the law and shall apply to all ongoing cases.

Costs: Actual costs of filing, such as, but not limited to the costs noted above (i.e. court filing fees,
credit reporting fees, conversion fees, appeal fees, title report costs, debtor education course, loss
mitigation web portal, amendment, reopening, case severing, judgment search, judgment cancellation
or mortgage recording), must be paid by the Debtor/Client. These actual costs must be paid by the
Debtor and the actual cost must be paid to counsel before it is incurred, unless paid through the
bankruptcy plan, if applicable.

Fees Due Upon Dismissal or Conversion: If your case is ever dismissed, you will still owe to the law
firm any amounts due under the plan which have yet to be paid (unpaid amounts). Similarly, upon
conversion, the amounts still due under the plan, must be paid before conversion of your case to
another chapter of the code, and you have agreed, by signing this agreement, we have no obligation to
convert the case, until all fees and costs due to the firm are completely paid.

Irrevocable Assignment of Legal Fees and/or Costs: The Debtor, by signing this statement, assigns
his/her/their interest, in the funds held by the Trustee, to the extent Counsel is still owed legal fees or
expenses, for services rendered or expenses incurred. You hereby irrevocably assign to us your
interest in all payments made to the Chapter 13 Trustee, to the extent of any balance due, subject to
Court approval of such fees and/or expenses. If your case is dismissed, or converted before our fees
and/or expenses are paid in full, you agree to allow the Chapter 13 Trustee to pay the balance due to us
directly from funds that would otherwise be returned to you, subject to Court approval of the fees
and/or expenses. This means that if the Chapter 13 Trustee is holding funds, from payments that you
made into the case, at the time the case is converted or dismissed, you have agreed that those funds
are assigned to us and that such funds will be paid to our firm on account of legal fees and/or costs
still due and owing.

By signing this agreement, you agree to the fee structure noted above regarding the legal fees (flat,
adjustment upward, hourly, post-confirmation and unanticipated/unforeseeable), and to the
assignment of Legal Fees and/or Costs in the case. By signing this agreement, I consent to the terms
and accept the fee agreement and understand the fee arrangement. This means that my attorney(s) will
continue to represent me and any charges shall be consistent with this agreement. I understand that
effective legal representation means cooperating with my attorney by providing information, whether in
the form of documents or information, and being forthright (honest). I understand that should I fail to
cooperate with my attorney in this manner or that if I am not forthright, I jeopardize the continuation of
my case and my attorney may ask the Court to withdraw as my counsel. There will be no refunds of
any legal fees if the firm withdraws as counsel and there will be no refunds of any sums once the case
is filed with the Court.

Designation of Contact: You must provide us, to be noted on this agreement, in this space with a
cellular phone number and email address, so that we are able to contact you to discuss your case
(including how to proceed in any situation) and provide you with information pertaining to your case.
You consent, by signing this agreement, to receiving and obtaining information about your case
through email (thus we will send all correspondence and documents to you through email and not by
regular mail except in exceptional circumstances) and to be contacted to discuss your case by phone,
email and/or text message. You are responsible for checking and receiving all messages through
these methods and should you fail to respond to us, we will either:

       a) Take the steps we deem necessary or appropriate in the situation to best represent you

       b) File a request to no longer be your attorney

       c) Not oppose relief requested in certain situations resulting in the loss of property and/or the
          dismissal of your case
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You must immediately notify us should there be any change in your email address or phone number,
so that we may contact you when necessary.

         Your Initials: AR

         Email address and cellular phone number:




Title and Judgment Searches: If you own real estate (such as a house), we encourage you to obtain a
title search and/or judgment search, to determine the encumberances against your property, in the
case of a mortgage or other lien and/or to determine docketed judgments which operate as liens
against the property. We are not professional property evaluators and the only way to properly
determine whether a lien exists, as to real estate, is to obtain a title search. As to judgments, we also
cannot properly determine judgments against you without a commercially obtained judgment search.
The cost of a title report is several hundred dollars and a judgment search is typically less than $100. If
you wish to obtain a title report and/or judgment search, you must pay these costs to us initially. By
initialing this statement, you have indicated that you understand our recommendation to obtain these
professional reports and that by not obtaining these reports we cannot properly determine liens,
mortgages or judgments against real estate that you own [We may obtain information as to judgments,
mortgages or liens through public records but cannot promise or guarantee that the information is
correct, which may adversely affect you or ultimately result in additional costs or fees in your case or
otherwise], which may seriously affect you should you ultimately want to sell or refinance the property.

         Your Initials: AR



If you do not own real estate, a judgment search is still a recommended course of action, since it may
be the case that judgments entered against you form a cloud on title in the event you purchase or
obtain real estate after your bankruptcy case is completed. Judgments may also negatively affect your
credit.

         Your Initials: AR



Dated: May 23, 2022

/s/ April Robinson



Debtor

/s/

Joint Debtor
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                                              United States Bankruptcy Court
                                                        District of New Jersey
 In re   April D Robinson                                                                      Case No.    22-14158
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: June 15, 2022                                    /s/ April D Robinson
                                                       April D Robinson
                                                       Signature of Debtor
